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    The Company Defendant




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2
                                           inter alia
in this definition, from the Employer during any specified period. Art. I, Section 1.02
Definitions.

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     A.
     B.

     C.


     D.
     E.




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A.



B.



C.



D.




E.




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